726 F.2d 380
    Edward Katsuaki SHIGEMURA, Appellant,v.UNITED STATES of America, Appellee.Edward Katsuaki SHIGEMURA, Appellant,v.UNITED STATES BUREAU OF PRISONS and United States MedicalCenter for Federal Prisoners, Appellees.
    No. 83-2034.
    United States Court of Appeals,Eighth Circuit.
    Submitted Jan. 11, 1984.Decided Jan. 16, 1984.
    
      Thomas E. Dittmeier, U.S. Atty., James E. Crowe, Jr., Asst. U.S. Atty., St. Louis, Mo., for appellees.
      Edward K. Shigemura, pro se.
      Before HEANEY, BRIGHT and McMILLIAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      Edward Katsuaki Shigemura appeals from a final judgment entered in the District Court1 for the Eastern District of Missouri denying his motion to modify, correct, or vacate his sentence pursuant to 28 U.S.C. Sec. 2255.  Appellant was convicted after a jury trial of conspiracy to steal goods from an interstate shipment and possession of those stolen goods.  This court affirmed the conviction on appeal.    United States v. Shigemura, 682 F.2d 699 (8th Cir.1982), cert. denied, --- U.S. ----, 103 S.Ct. 741, 74 L.Ed.2d 962 (1983).  For reversal appellant argues that the failure of federal authorities to comply with Article IV(e) of the Interstate Agreement on Detainers (IAD), 18 U.S.C.App. Sec. 2 (1976), requires the dismissal of the indictment against him.
    
    
      2
      Appellant was arrested in late May 19812 on state burglary charges and was detained in the St. Louis County jail pending trial.  On June 25, the federal indictment underlying appellant's present conviction was returned, and four days later a federal detainer was lodged with St. Louis County officials.  On July 6, the district court entered a writ of habeas corpus ad prosequendum, mandating appellant's appearance in federal court for his arraignment and any subsequent proceedings and directing that appellant be returned to St. Louis County "after said hearing and proceedings."    Appellant was arraigned on July 8.  He thereafter appeared in district court on several occasions for hearing on pretrial motions and trial.
    
    
      3
      On July 17 the St. Louis Circuit Court sentenced appellant on a state misdemeanor assault charge to one year's imprisonment in the county jail.  Appellant was subsequently convicted by a jury of the federal charges on September 29 and sentenced on October 30.  During all these proceedings appellant was confined in the St. Louis County jail.
    
    
      4
      Appellant claims that the government violated Article IV(e) of the IAD by taking him from and returning him to the St. Louis County jail on several occasions during his federal proceeding without trying him.  Article IV(e) provides:
    
    
      5
      If trial is not had on any indictment, information, or complaint contemplated hereby prior to the prisoner's being returned to the original place of imprisonment pursuant to article V(e) hereof, such indictment, information or complaint shall not be of any further force or effect, and the court shall enter an order dismissing the same with prejudice.
    
    
      6
      Appellant argues that because he was returned to "the original place of imprisonment" (i.e., the county jail) before being tried on the federal charges, the district court erred in failing to dismiss the indictment against him in accordance with Article IV(e).
    
    
      7
      In the circumstances of this case, the government did not violate the terms of the IAD.  Because there is no federal penal institution in the St. Louis metropolitan area, the Justice Department has approved the use of the St. Louis County jail to hold federal prisoners awaiting trial.  The fact that appellant was confined in that facility both as a state and federal prisoner was coincidental, but hardly violative of the IAD.  Assuming arguendo that the government violated Article IV(e) by housing appellant in the St. Louis County jail, "the mere failure to comply with the IAD, without more, does not justify relief under section 2255."    Huff v. United States, 599 F.2d 860, 863 (8th Cir.), cert. denied, 444 U.S. 952, 100 S.Ct. 428, 62 L.Ed.2d 323 (1979).  To prevail on his claim, appellant must prove that the statutory violation prejudiced him in some aspect of his state imprisonment or in defending against a federal charge.  Id.  Appellant has not claimed, nor does the record disclose, any harm resulting from the alleged violation of Article IV(e).
    
    
      8
      Accordingly, the judgment of the district court is affirmed.
    
    
      
        1
         The Honorable John F. Nangle, Chief Judge, United States District Court for the Eastern District of Missouri
      
      
        2
         All dates refer to 1981 unless otherwise indicated
      
    
    